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       }X) ^               <T         UNITED STATES DISTRICT COURT
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      e.::^IQCHEMICS, I.        JOHN J. MASIZ/
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pL ^ i-jEtR^NING)
                                Ddfendants.
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                 -12-17 SUPPLEMENTAL JOINT REPORT OF THE PARTIES AND ADEC
                  DIRECTED BY PAR.3 OF THE COURT'S 12-5-17 ORDER(Doc.#379)
" d             The Parties and ADEC submit this supplemental joint report as directed by Par. 3 of the

              :'s December 5, 2017 Order(Doc. #379) as follows:

                RELEVANT PROCEDURAL HISTORY


                A.       December 5,2017 Order

                In its December 5, 2017 Order the Court directed at par. 3 as follows:

                ADEC Private Equity Investments, LLC("ADEC")shall confer with BioChemics and the
                SEC, and shall, by December 7, 2017, report regarding:(1)the prospects of monetizing
                the assets in dispute; and (2)the possibility of resolving their dispute without further
         ^ ~ action by the Court. If they are unable to resolve their dispute, the parties shall propose a
         ^ U^chedule for future proceedings, including a briefing schedule on the issues of:(a)
         A   interpleader under 28 USC Section 1335; and (b)the court's authority to provide relief
         V ^ from the May 25, 2016 Modified Judgment(Docket No. 202).

         December 5, 2017 Order(Doc.#379).

                B.       December 7,2017 Joint Report(Doc.#383)

                On December 7, 2017 the Parties and ADEC reported as follows:
  ^       v.. BioChemics has presented to the Commission and ADEC its plan to monetize the assets
                so that the obligations regarding payment of the Judgment and the obligation to ADEC
